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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA

   UNITED STATES OF AMERICA                             Case No. 1:18-cr-286-TWP-DLP-01

                                                        ORDER       ON    MOTION  FOR
   v.                                                   SENTENCE REDUCTION UNDER
                                                        18 U.S.C. § 3582(c)(1)(A)
   NOLAN BREWER                                         (COMPASSIONATE RELEASE)


         Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

  in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

  provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

  Commission,

  IT IS ORDERED that the motion is:

  ☒ DENIED.

  ☐ DENIED WITHOUT PREJUDICE.

  ☐ OTHER:

  ☒ FACTORS CONSIDERED: See attached opinion.
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                             )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )    Case No. 1:18-cr-00286-TWP-DLP
                                                        )
  NOLAN BREWER,                                         )
                                                        )
                                Defendant.              )

              ORDER DENYING MOTION FOR COMPASSIONATE RELEASE

         This matter is before the Court on Defendant Nolan Brewer's ("Mr. Brewer") pro se Motion

  for Sentence Reduction pursuant to 18 U.S.C. § 3582(c)(1)(A), that the Court construes as a motion

  for compassionate release under § 603 of the First Step Act of 2018. (Dkt. 85.) Mr. Brewer seeks

  immediate release from incarceration due to risk to his health associated with the Coronavirus

  pandemic. Id. Because Mr. Brewer has not shown extraordinary and compelling reasons for a

  sentence reduction, his motion is denied.

                                        I.    BACKGROUND

         In May 2019, the Court sentenced Mr. Brewer to 36 months' imprisonment and 2 years of

  supervised release after he pled guilty to one count of conspiracy to violate rights, in violation of

  18 U.S.C. § 241. (Dkts. 66, 67.) In the course of pleading guilty, Mr. Brewer admitted to, among

  other things, spray-painting Nazi symbols on a Jewish synagogue in Carmel, Indiana. (See Dkt. 76

  at 20–32.) He also admitted to using homemade "napalm" to set fire to two areas of the ground

  near the spray-painted graffiti. Id. He admitted that he targeted the synagogue because its

  members were Jewish and that he intended to scare them. Id. Judgment was entered on May 24,

  2019. (Dkt. 67.)



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          On August 13, 2020, Mr. Brewer filed a motion seeking compassionate release under 18

  U.S.C. § 3582(c)(1)(A). (Dkt. 83.) The motion without prejudice because it did not show that

  Defendant was entitled to compassionate release. (Dkt. 84.) The Court informed Mr. Brewer that

  he could pursue a motion for compassionate release by completing and returning the Court's form

  compassionate release motion. Id. On October 14, 2020, Mr. Brewer completed and returned the

  Court's form compassionate release motion. (Dkt.85.) That motion is currently pending before

  the Court. 1

                                              II.      DISCUSSION

          Mr. Brewer is 22 years old. He is currently incarcerated at the Metropolitan Correctional

  Center in Chicago, Illinois ("MCC Chicago"). As of October 26, 2020, the Bureau of Prisons

  ("BOP") reports that one inmate at MCC Chicago has an active case of COVID-19; it also reports

  that 125 inmates have recovered from the virus. The BOP website lists Mr. Brewer's release date

  as December 22, 2021.

          Mr. Brewer seeks immediate release because of conditions created by the COVID-19

  pandemic. (Dkt. 85 at 8–9.) 2 He complains about "the unhealthy conditions and absence of

  rehabilitation at [his] facility," id. at 2, noting specifically that the staff at MCC Chicago have not

  been able to control the spread of the virus and have allowed a "'Petri Dish' like environment" to

  develop, id. at 8. He complains that he is currently housed in a COVID-19 recovery unit and has

  been living under lockdown conditions since April 2020. Id. Although he does not explicitly state

  in his renewed motion, Mr. Brewer's original motion and supporting documentation show that he




  1The Court concludes that it does not require a response brief from the Government to decide the issues presented by
  Mr. Brewer's motion.
  2
   Citations to this document are to the page numbers electronically "stamped" on the document when it was filed in
  CM/ECF.

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  contracted COVID-19 while incarcerated at MCC Chicago and tested positive on April 29, 2020.

  (Dkt. 83 at 1.) Mr. Brewer did not develop any symptoms, id. at 13, and has since tested negative

  for the virus, (Dkt. 83-2 (negative test result from July 20, 2020).) He does not base his current

  motion on any medical diagnosis of his own. See Dkt. 85 at 5 (not answering when asked to list

  any medical diagnoses that are the basis for his motion). Instead, he expresses concern about being

  re-infected with COVID-19. See id. at 8.

          Mr. Brewer states that he is afraid because he is housed with violent inmates, alleging that

  there is a pattern of violence toward vulnerable inmates that was spurred by an attack on fellow

  inmate R. Kelly. Id. He complains that staff members at MCC Chicago are neglecting their

  responsibility to maintain the safety of inmates in their custody. Id. Mr. Brewer also complains

  about conditions at MCC Chicago in the wake of the pandemic, noting that being on lockdown

  means that he has no access to potentially rehabilitative programming and that he is "being held in

  a cell with 80+ inmates, to be exposed to violent and mentally unstable inmates, unable to access

  any fresh air or sunlight or observe any social distancing." Id. at 9. He states that he has developed

  anxiety and depression but that there is no unit team, counselor, or case manager on his floor, and

  he rarely sees anyone in authority to whom he can address his concerns. Id. at 8.

          18 U.S.C. § 3582(c) provides in relevant part:

          [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
          of the defendant after the defendant has fully exhausted all administrative rights to
          appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
          or the lapse of 30 days from the receipt of such a request by the warden of the
          defendant's facility,[3] whichever is earlier, may reduce the term of imprisonment
          (and may impose a term of probation or supervised release with or without

  3In his original motion, Mr. Brewer stated that he made an administrative request for compassionate release on June
  11, 2020. (Dkt. 83 at 12.) Because it appears that he made the request more than 30 days ago, the Court may hear his
  motion. The exhaustion requirement is not, however, jurisdictional. See United States v. Cox, No. 4:18-cr-17-TWP-
  VTW-1, 2020 WL 1923220, at *3 (S.D. Ind. Apr. 21, 2020); United States v. Jackson, No. 2:15-cr-00013-JMS-CMM-
  1, Dkt. 137 (S.D. Ind. Apr. 28, 2020). Thus, even if Mr. Brewer has not exhausted his administrative remedies, the
  Court may deny his motion on the merits because the face of his motion shows that he is not entitled to relief.

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           conditions that does not exceed the unserved portion of the original term of
           imprisonment), after considering the factors set forth in section 3553(a) to the
           extent that they are applicable, if it finds that—

                   (i) extraordinary and compelling reasons warrant such a reduction . . . and
           that such a reduction is consistent with applicable policy statements issued by the
           Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A).

           Congress directed the Sentencing Commission to "describe what should be considered

  extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

  and a list of specific examples." 28 U.S.C. § 994(t). It directed that "[r]ehabilitation of the

  defendant alone shall not be considered an extraordinary and compelling reason." Id. In response

  to this directive, the Sentencing Commission promulgated a policy statement regarding

  compassionate release under § 3582(c), contained in United States Sentencing Guidelines

  ("U.S.S.G.") § 1B1.13 and the accompanying Application Notes. While that particular policy

  statement has not yet been updated to reflect that defendants (and not just the BOP) may move for

  compassionate release,4 courts have universally turned to U.S.S.G. § 1B1.13 to provide guidance

  on the "extraordinary and compelling reasons" that may warrant a sentence reduction. E.g., United

  States v. Casey, 2019 WL 1987311, at *1 (W.D. Va. 2019); United States v. Gutierrez, 2019 WL

  1472320, at *2 (D.N.M. 2019); United States v. Overcash, 2019 WL 1472104, at *2-3 (W.D.N.C.

  2019).     There is no reason to believe, moreover, that the identity of the movant (either the

  defendant or the BOP) should have any impact on the factors the court should consider.




  4
    Until December 21, 2018, only the BOP could bring a motion for sentence reduction under § 3582(c)(1)(A). The
  First Step Act of 2018, which became effective on December 21, 2018, amended § 3582(c)(1)(A) to allow defendants
  to bring such motions directly, after exhausting administrative remedies. See 132 Stat. at 5239 (First Step Act §
  603(b)).


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           As provided in § 1B1.13, consistent with the statutory directive in § 3582(c)(1)(A), the

  compassionate release analysis requires several findings. First, the Court must address whether

  "[e]xtraordinary and compelling reasons warrant the reduction" and whether the reduction is

  otherwise "consistent with this policy statement." U.S.S.G. § 1B1.13(1)(A), (3). Second, the

  Court must determine whether Mr. Brewer is "a danger to the safety of any other person or to the

  community, as provided in 18 U.S.C. § 3142(g)." U.S.S.G. § 1B1.13(2). Finally, the Court must

  consider the § 3553(a) factors, "to the extent they are applicable." U.S.S.G. § 1B1.13.

           Subsections (A)-(C) of Application Note 1 to § 1B1.13 identify three specific "reasons"

  that qualify as "extraordinary and compelling": (A) terminal illness diagnoses or serious conditions

  from which a defendant is unlikely to recover and which "substantially diminish[]" the defendant's

  capacity for self-care in prison; (B) aging-related health decline where a defendant is over 65 years

  old and has served at least ten years or 75% of his sentence, whichever is less; or (C) certain family

  circumstances (the death or incapacitation of the caregiver of the defendant's minor child or the

  incapacitation of the defendant's spouse or registered partner when the defendant would be the

  only available caregiver for the spouse or registered partner). U.S.S.G. § 1B1.13, Application

  Note 1(A)–(C). Subsection (D) adds a catchall provision for "extraordinary and compelling

  reason[s] other than, or in combination with, the reasons described in subdivisions (A) through

  (C)." 5 Id., Application Note 1(D).


  5
   The policy statement provides that "[a] reduction under this policy statement may be granted only upon motion by
  the Director of the Bureau of Prisons." U.S.S.G. Manual §1B1.13, Application Note 4. Likewise, the catchall provision
  provides, "As determined by the Director of the Bureau of Prisons, there exists in the defendant's case an extraordinary
  and compelling reason other than, or in combination with, the reasons described in subdivisions (A) through (C)." Id.,
  Application Note 1(D). This policy statement has not been amended since the passage of the First Step Act. Insofar
  as it states that only the Director of the BOP can bring a motion under § 3582(c)(1)(A), it is directly contradicted by
  the amended statutory text. Some courts have concluded that the Commission does not have a policy position
  applicable to motions under § 3582(c)(1)(A)(i) and they have discretion to determine what constitutes an
  "extraordinary and compelling reason" on a case-by-case basis, looking to the policy statement as helpful, but not
  dispositive. See, e.g., United States v. Perdigao, No. 07-103, 2020 WL 1672322, at *2 (E.D. La. Apr. 2, 2020)
  (collecting cases). Other courts have held that they must follow the policy statement as it stands and, thus, that the

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          Mr. Brewer does not suggest that Subsections (A)-(C) of Application Note 1 to § 1B1.13

  apply to him.       See Dkt. 85 at 2. Thus, the question is whether the catchall provision for

  extraordinary and compelling reasons applies in this case.

          The Court concludes that it does not. To the extent Mr. Brewer contends that being infected

  with COVID-19 is an extraordinary and compelling reason warranting a sentence reduction, the

  Court disagrees. Mr. Brewer contracted COVID-19 almost six months ago. By his own admission,

  he remained asymptomatic, and he has submitted medical records showing that he tested negative

  for the virus three months ago. He does not claim to be suffering from any lingering effects of the

  virus. 6 Thus, he has not shown extraordinary and compelling reasons warranting a sentence

  reduction. See, e.g., United States v. Weatherspoon, No. 2:11-cr-9-JMS-CMM-07, Dkt. 894 (S.D.

  Ind. July 7, 2020) (finding no extraordinary and compelling reason where defendant had conditions

  putting him at risk for severe COVID-19 symptoms and had been hospitalized after testing positive

  for COVID-19, but had since recovered); United States v. Wyatt, No. 3:17-cr-11-RLY-MPB-02,

  dkt. 165 (S.D. Ind. Sept. 3, 2020) (finding no extraordinary and compelling reason where

  defendant had conditions putting him at risk for severe COVID-19 symptoms and had tested

  positive for COVID-19 but remained asymptomatic).




  Director of the BOP is the ultimate arbiter of what counts as "extraordinary and compelling" under the catchall
  provision. See, e.g., United States v. Lynn, No. 89-0072-WS, 2019 WL 3805349, at *2–4 (S.D. Ala. Aug. 13, 2019).
  The Court need not resolve that debate, though, because Mr. Brewer's motion is due to be denied even if the Court
  assumes that the policy statement is not binding and that it has the discretion to determine what constitutes an
  "extraordinary and compelling reason" for a sentence reduction.
  6
    In his original motion, Mr. Brewer provided some statistics about the number of COVID-19 patients who suffer
  long-term effects from the virus, such as heart, lung, and brain damage. See Dkt. 83 at 9–11. He does not repeat that
  information in his current motion, and the Court does not understand him to be arguing in his current motion that he
  has suffered long-term damage from his COVID-19 infection. To the extent he does make such an argument, it is
  speculative, particularly in the absence of any suggestion that he has any symptoms suggesting long-term damage
  from his admittedly asymptomatic COVID-19 infection.

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         Mr. Brewer's concern about being re-infected with COVID-19 does not change this

  result. The Court acknowledges that MCC Chicago had an outbreak of COVID-19, but the BOP

  currently reports that there is one active inmate case and that there are 6 active staff cases. That

  is, the outbreak currently appears to be largely under control within the inmate population. To the

  extent Mr. Brewer is contending that he could experience severe symptoms if infected again, his

  argument     is    speculative.     See    https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-

  sick/quarantine.html (last visited Oct. 20, 2020) ("At this time, we have limited information about

  reinfections with the virus that causes COVID-19."). To date, this Court has declined to find

  extraordinary and compelling circumstances warranting a sentence reduction when a defendant

  has had an asymptomatic case of COVID-19—even when that defendant has risk factors for severe

  symptoms, which Mr. Brewer does not. See, e.g., Wyatt, No. 3:17-cr-11-RLY-MPB-02, dkt. 165

  (S.D. Ind. Sept. 3, 2020); United States v. Gevirtz, No. 1:17-cr-68-RLY-MJD-01, dkt. 68 (S.D.

  Ind. Sept. 14, 2020); United States v. Young, No. 1:10-cr-3-SEB-DML-17, dkt. 1540 (S.D. Ind.

  July 27, 2020).

         Mr. Brewer's complaints about the conditions at MCC Chicago (including the lack of

  programming, the lack of access to mental health care, and fear about attacks from violent inmates)

  also do not change this result. Such complaints suggest that he may wish to consider filing in his

  district of incarceration an action under Bivens v. Six Unknown Named Agents, 403 U.S. 388

  (1971), or a claim for injunctive relief. Given the availability of alternative relief, such complaints

  do not constitute an extraordinary and compelling reason warranting a sentence reduction.

  Similarly, Mr. Brewer's complaints about MCC Chicago's handling of the COVID-19 pandemic

  might conceivably support a claim for monetary damages, but they do not warrant releasing him




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  from his sentence early. 7 In short, Mr. Brewer has not shown an extraordinary and compelling

  reason warranting a sentence reduction.

           Because the Court has determined no extraordinary and compelling reason warranting a

  sentence reduction exist, it will only briefly address the danger to the community and that the

  sentencing factors in § 3553 do not favor release.

           Fear is what Mr. Brewer and his co-conspirator wife intended. Mr. Brewer admitted at his

  sentencing hearing that he had come to believe in Nazism. He admired Adolf Hitler, wore Nazi

  paraphernalia, and spoke of white supremacy. He and his wife wanted to send a message, so they

  purchased spray paint and ingredients to build overpressure explosive devices and concoct

  homemade “napalm”. In the middle of the night, they drove over 50 miles to a synagogue. They

  parked a mile away to avoid detection and carried their supplies in a backpack, planning to break

  into the synagogue and set it on fire. In the end, the synagogue’s security system deterred them

  from breaking in, so they sprayed their message on the walls of a nearby enclosure and started a

  fire on synagogue property. The next day, while the congregation, and indeed the entire

  community, took notice in shock and disgust, Mr. Brewer bragged about what he had done. He

  showed his friends photographs and gloated about the national news coverage. And, more than

  two weeks later, when arrested by the Federal Bureau of Investigation, he still had the spray paint,

  explosive devices, and other tools in the trunk of his car. He asserted that he had been radicalized

  to Nazism by his wife. By the time of his sentencing hearing, Mr. Brewer expressed his remorse

  and claimed to have disavowed the beliefs that caused him to commit this offense. Regardless, fire


  7 Mr. Brewer's original motion included other complaints about conditions at MCC Chicago that were not repeated in
  his current motion (for example, complaints about policy violations and poor medical care). See generally Dkt. 83. To
  the extent those arguments are not included in his current motion, the Court considers them to be abandoned.
  Regardless, such conditions do not constitute extraordinary and compelling reasons warranting a sentence reduction.
  Like the complaints he makes in his current motion about the conditions at MCC Chicago, the complaints included in
  his original motion could conceivably support a civil suit, but they do not represent a reason to release him from his
  sentence early.

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  and Nazism are threatening symbols and the time Mr. Brewer has spent thus far in custody is

  insufficient to address the danger his crime imparts to the community.

         Regarding the 3553(a) factors, Mr. Brewer’s hateful conduct demands a meaningful

  sentence of imprisonment, not only to reflect the seriousness of the crime, promote respect for the

  law, to provide just punishment, and perhaps even more critically, to promote deterrence. For

  these additional reasons, the 3553(a) factors do not warrant release.

                                      III.    CONCLUSION

         For the reasons stated above, Mr. Brewer's Motion for Compassionate Release, Dkt. [85],

  is DENIED. The Clerk is directed to enclose a prisoner civil rights complaint form with Mr.

  Brewer's copy of this Order.

         SO ORDERED.

  Date: 10/26/2020


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